          Case 1:12-cr-00242-JRH-BKE Document 301 Filed 11/20/14 Page 1 of 1

                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE    SOUTHERN DISTRICT OF GEORGIA
                                          AUGUSTA DIVISION



UNITED STATES OF AMERICA,                          *
                                                   *


                v.                                 *                 CR 112-242
                                                   *



ALAN SHANE HAYNES                                  *



                                            ORDER




        Defendant       has    filed a motion           for   reduction of     sentence under     18

U.S.C. § 3582(c)(2) on the basis that Amendment 782 to the United States

Sentencing Guidelines has                 revised the guidelines applicable to drug
trafficking offenses.                Even though Amendment 782 became effective on
November 1,           2014,    no defendant may be released on the basis of the

retroactive amendment before November 1, 2015.                         See U.S.S.G. Amend. 788.

Thus,     the        Court    will   undertake         a    review   of   cases      involving   drug

trafficking offenses in due course.                           If Defendant is entitled to a
sentence     reduction as            a    result       of   amendments    to   the    United States

Sentencing Guidelines, the Court will make such a reduction sua sponte.
Accordingly, Defendant's motion (doc. no. 299) is DEFERRED.1
        ORDER ENTERED at Augusta, Georgia, this 6K&                               day of November,
2014.




                                              HONORABLE J< RANDAL HALL
                                              UNITED STATES DISTRICT JUDGE
                                              -SOUTHERN DISTRICT OF GEORGIA



        The Clerk is directed to terminate the motion for administrative purposes.
